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    9                      UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
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    11 JUAN RENDON                                 CASE NO:
                                                   2:20−cv−08964−FMO−MRW
    12                 Plaintiff(s),
              v.                                   ORDER DISMISSING ACTION
    13
         TESORO REFINING AND MARKETING             WITHOUT PREJUDICE
    14 COMPANY LLC , et al.
    15
    16                Defendant(s).
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    19        Having been advised by counsel that the above−entitled action has been settled,
    20   IT IS ORDERED that the above−captioned action is hereby dismissed without costs
    21   and without prejudice to the right, upon good cause shown within 30 days from the
    22   filing date of this Order, to re−open the action if settlement is not consummated.
    23   The court retains full jurisdiction over this action and this Order shall not prejudice
    24   any party to this action.

    25       IT IS SO ORDERED.
    26
         DATED: May 4, 2021                           /s/ Fernando M. Olguin
    27                                               Fernando M. Olguin
                                                     United States District Judge
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